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PROCESSING OPERATIONS
HEADQUARTERS
UNITED STATES POSTAL SERVICE

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POSTAL SERVICES

 

Operational Clean Sweep Search Checklist- Political and Election Mail

Purpose: To provide an operational checklist to be used in performing a daily mail search. This list includes the
minimal areas to check and is not limited to these areas within facility. Checklist must be retained by the District

Political and Election Mail Operations Coordinator information for investigating possible missing or delayed

Political and/or Election Mail. District:

Name:

 

 

Title:

Phone #:

 

 

Check box
when checked

Section/Operation:

Defines the work area to be searched.

Commenis:

Specifics: include copies of PMOD label and /or
container placard. Names of individuals contacted

 

Incoming dock \

 

 

BMEU & BMEU Plant Staging

 

Opening units /

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a

 

AC / Station dispatch area

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Outbound dock

 

Outgoing Dispatch Area

 

Trailers in yard (Yard Check)

 

MTE Plant Staging Area

 

MTE trailers

 

Site MTESC

[Pp

 

PARS Staging and Operations

 

Rewrap Operations

 

CFS (if applicable}

v/a

 

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BRM/Postage Due

 

 

 

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